              19-11502-jlg           Doc 1        Filed 05/09/19          Entered 05/09/19 09:59:34                   Main Document
                                                                         Pg 1 of 40
Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                             Check if this an
                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Z & J, LLC d/b/a Appeal Tech

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  7 West 36th Street
                                  New York, NY 10018
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  New York                                                       Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
               19-11502-jlg            Doc 1         Filed 05/09/19           Entered 05/09/19 09:59:34 Main Document
Debtor
                                                                             Pg 2 of 40    Case number (if known)
          Z & J, LLC d/b/a Appeal Tech
          Name



7.   Describe debtor's business A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                          Case number
                                                 District                                 When                          Case number

10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                               Relationship
                                                 District                                 When                        Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
             19-11502-jlg           Doc 1         Filed 05/09/19            Entered 05/09/19 09:59:34 Main Document
Debtor
                                                                           Pg 3 of 40    Case number (if known)
         Z & J, LLC d/b/a Appeal Tech
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                    Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                            Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                                No
                                                Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                25,001-50,000
    creditors                       50-99                                            5001-10,000                                50,001-100,000
                                    100-199                                          10,001-25,000                              More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
              19-11502-jlg          Doc 1          Filed 05/09/19          Entered 05/09/19 09:59:34 Main Document
Debtor
                                                                          Pg 4 of 40    Case number (if known)
         Z & J, LLC d/b/a Appeal Tech
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       May 2, 2019
                                                   MM / DD / YYYY


                             X   /s/ Michael Kestan                                                      Michael Kestan
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Daniel Alter                                                         Date May 2, 2019
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Daniel S. Alter
                                 Printed name

                                 Daniel S. Alter
                                 Firm name

                                 360 Westchester Avenue #316
                                 Port Chester, NY 10573
                                 Number, Street, City, State & ZIP Code


                                 Contact phone       (914) 393-2388              Email address      dsa315@mac.com


                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
            19-11502-jlg                Doc 1          Filed 05/09/19               Entered 05/09/19 09:59:34                Main Document
                                                                                   Pg 5 of 40




 Fill in this information to identify the case:

 Debtor name         Z & J, LLC d/b/a Appeal Tech

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          May 9, 2019                             X /s/ Michael Kestan
                                                                       Signature of individual signing on behalf of debtor

                                                                       Michael Kestan
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                    19-11502-jlg             Doc 1          Filed 05/09/19              Entered 05/09/19 09:59:34                             Main Document
                                                                                       Pg 6 of 40

 Fill in this information to identify the case:
 Debtor name Z & J, LLC d/b/a Appeal Tech
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                          Check if this is an
                                                YORK
 Case number (if known):                                                                                                                                   amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and            Name, telephone number         Nature of claim              Indicate if claim   Amount of claim
 complete mailing address,       and email address of           (for example, trade debts,    is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code              creditor contact               bank loans, professional     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                services, and government         disputed        value of collateral or setoff to calculate unsecured claim.
                                                                contracts)                                       Total claim, if            Deduction for value         Unsecured claim
                                                                                                                 partially secured          of collateral or setoff
 ALM - GA                                                                                                                                                                       $5,430.39
 P.O. Box 18114
 Newark, NJ
 07191-8114
 American Express                                                                                                                                                             $67,271.86
 P.O. Box 1270
 Newark, NJ
 07101-1270
 Chase Card                                                                                                                                                                   $27,937.88
 Services
 P.O. Box 371874
 Pittsburgh, PA
 15250-7874
 CLA Commercial                                                                                                                                                                 $8,056.76
 Cleaning
 347 West 36th St,
 Ste 502
 New York, NY 10018
 Daily Journal                                                                                                                                                                  $3,914.52
 Corporation
 915 E. 1st Street
 Los Angeles, CA
 90012
 De Lage Landen                                                                                                                                                               $23,118.19
 1111 Old Eagle
 School Road
 Wayne, PA 19087
 Empire Management                                                                                                                                                            $43,533.15
 Co. Inc.
 P.O.Box 428
 Murray Hill Station
 New York, NY 10156
 FedEx                                                                                                                                                                          $9,012.51
 P.O. Box 371461
 Pittsburgh, PA
 15250-7461




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                      page 1

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                    19-11502-jlg             Doc 1          Filed 05/09/19              Entered 05/09/19 09:59:34                             Main Document
                                                                                       Pg 7 of 40

 Debtor    Z & J, LLC d/b/a Appeal Tech                                                                           Case number (if known)
           Name

 Name of creditor and            Name, telephone number         Nature of claim              Indicate if claim   Amount of claim
 complete mailing address,       and email address of           (for example, trade debts,    is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code              creditor contact               bank loans, professional     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                services, and government         disputed        value of collateral or setoff to calculate unsecured claim.
                                                                contracts)                                       Total claim, if            Deduction for value         Unsecured claim
                                                                                                                 partially secured          of collateral or setoff
 Focus Media, Inc                                                                                                                                                               $6,000.00
 10 Matthews Street
 Goshen, NY 10924
 Judelson Giordano                                                                                                                                                              $7,500.00
 & Siegel
 633 Route 211 East
 Middletown, NY
 10941
 Lindenmeyr Munroe                                                                                                                                                            $16,073.60
 P.O. Box 416207
 Boston, MA
 02241-6207
 Littler Mendelson,                                                                                                                                                             $5,945.00
 P.C.
 P.O. Box 45547
 San Francisco, CA
 94145-0547
 Lo Rocca                                                                                                                                                                       $4,000.00
 115 East 72nd
 Street, 1C
 New York, NY 10021
 Michelman &                                                                                                                                                                  $60,000.00
 Robinson, LLP
 10880 Wilshire
 Blvd,19th Floor
 Los Angeles, CA
 90024
 NYS Dept Tax &                                                                                                                                                             $700,000.00
 Finance
 W.A. Harriman State
 Campus
 Bankruptcy Unit -
 TCD
 Albany, NY 12227
 Purchase Power                                                                                                                                                               $24,305.11
 P.O. Box 371874
 Pittsburgh, PA
 15250-7874
 TOJAA Services,                                                                                                                                                                $4,000.00
 LLC
 168 Tottenham
 Road
 Lynbrook, NY 11563
 Wells Fargo                                                                                                                                                                  $24,091.83
 Financial Leasing
 P.O. Box 10306
 Des Moines, IA
 50306-0306




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                      page 2

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                    19-11502-jlg             Doc 1          Filed 05/09/19              Entered 05/09/19 09:59:34                             Main Document
                                                                                       Pg 8 of 40

 Debtor    Z & J, LLC d/b/a Appeal Tech                                                                           Case number (if known)
           Name

 Name of creditor and            Name, telephone number         Nature of claim              Indicate if claim   Amount of claim
 complete mailing address,       and email address of           (for example, trade debts,    is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code              creditor contact               bank loans, professional     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                services, and government         disputed        value of collateral or setoff to calculate unsecured claim.
                                                                contracts)                                       Total claim, if            Deduction for value         Unsecured claim
                                                                                                                 partially secured          of collateral or setoff
 WHB Biltmore, LLC                                                                                                                                                              $9,800.07
 Millenium Biltmore
 Hotel
 506 South Grand
 Avenue
 Los Angeles, CA
 90071
 Windstream                                                                                                                                                                   $15,126.05
 PAETEC
 P.O. Box 9001013
 Louisville, KY
 40290-1013




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                      page 3

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             19-11502-jlg                      Doc 1             Filed 05/09/19                       Entered 05/09/19 09:59:34                                         Main Document
                                                                                                     Pg 9 of 40
 Fill in this information to identify the case:

 Debtor name            Z & J, LLC d/b/a Appeal Tech

 United States Bankruptcy Court for the:                     SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,523,690.47

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,523,690.47


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $          700,001.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$          383,210.52


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $          1,083,211.52




 Official Form 206Sum                                            Summary of Assets and Liabilities for Non-Individuals                                                                                   page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
            19-11502-jlg                Doc 1          Filed 05/09/19        Entered 05/09/19 09:59:34               Main Document
                                                                            Pg 10 of 40
 Fill in this information to identify the case:

 Debtor name         Z & J, LLC d/b/a Appeal Tech

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest
 2.        Cash on hand                                                                                                                           $1,000.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number


           3.1.     Azlo Bank                                                                                                                   $80,000.00




           3.2.     Chase Bank Account #1                                                                                                         $1,500.00




           3.3.     Chase Bank Account #2                                                                                                                 $0.00




           3.4.     Chase Bank Account #3                                                                                                                 $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                 $82,500.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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            19-11502-jlg                Doc 1          Filed 05/09/19        Entered 05/09/19 09:59:34                      Main Document
                                                                            Pg 11 of 40
 Debtor           Z & J, LLC d/b/a Appeal Tech                                                 Case number (If known)
                  Name


        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Security Deposits                                                                                                       $71,190.47



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment

 9.        Total of Part 2.                                                                                                            $71,190.47
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                         1,365,000.00    -                                0.00 = ....              $1,365,000.00
                                              face amount                        doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                          $1,365,000.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:          Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:          Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 2
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            19-11502-jlg                Doc 1          Filed 05/09/19        Entered 05/09/19 09:59:34                 Main Document
                                                                            Pg 12 of 40
 Debtor         Z & J, LLC d/b/a Appeal Tech                                                  Case number (If known)
                Name

           General description                                                Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Office furniture & computers                                                     $0.00                                         $5,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                              $5,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Cutting and binding machinery                                              $20,000.00                                          Unknown



 51.       Total of Part 8.                                                                                                                $0.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
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            19-11502-jlg                Doc 1          Filed 05/09/19        Entered 05/09/19 09:59:34                Main Document
                                                                            Pg 13 of 40
 Debtor         Z & J, LLC d/b/a Appeal Tech                                                 Case number (If known)
                Name


               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 4
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             19-11502-jlg                 Doc 1            Filed 05/09/19                Entered 05/09/19 09:59:34                             Main Document
                                                                                        Pg 14 of 40
 Debtor          Z & J, LLC d/b/a Appeal Tech                                                                      Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                            Current value of                       Current value of real
                                                                                                  personal property                      property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $82,500.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $71,190.47

 82. Accounts receivable. Copy line 12, Part 3.                                                              $1,365,000.00

 83. Investments. Copy line 17, Part 4.                                                                                   $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                     $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                            $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                         $5,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                            $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                        $0.00

 90. All other assets. Copy line 78, Part 11.                                                 +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                       $1,523,690.47              + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,523,690.47




Official Form 206A/B                                             Schedule A/B Assets - Real and Personal Property                                                             page 5
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                                                                                  Pg 15 of 40
 Fill in this information to identify the case:

 Debtor name          Z & J, LLC d/b/a Appeal Tech

 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                        Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                    Amount of claim             Value of collateral
                                                                                                                                                    that supports this
                                                                                                                        Do not deduct the value     claim
                                                                                                                        of collateral.
        JP Morgan Chase Bank,
 2.1                                                 Describe debtor's property that is subject to a lien                          Unknown             $1,365,000.00
        N.A.
        Creditor's Name                              accounts receivable
        270 Park Avenue
        New York, NY 10017
        Creditor's mailing address                   Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known               Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       $0.00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                       On which line in Part 1 did you     Last 4 digits of
                                                                                                                enter the related creditor?         account number for
                                                                                                                                                    this entity
         Buonamici & LaRaus, LLP
         222 Bloomingdale Road, Ste 301                                                                         Line   2.1
         White Plains, NY 10605




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 1
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                                                                                     Pg 16 of 40
 Fill in this information to identify the case:

 Debtor name         Z & J, LLC d/b/a Appeal Tech

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                    Check if this is an
                                                                                                                                                    amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with
          priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                      Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $1.00      $0.00
           Internal Revenue Service                                  Check all that apply.
           Centralized Insolvency Operati                               Contingent
           P.O. Box 7346                                                Unliquidated
           Philadelphia, PA 19101-7346                                  Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $700,000.00          $0.00
           NYS Dept Tax & Finance                                    Check all that apply.
           W.A. Harriman State Campus                                   Contingent
           Bankruptcy Unit - TCD                                        Unliquidated
           Albany, NY 12227                                             Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                        Amount of claim




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 6
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            19-11502-jlg                Doc 1          Filed 05/09/19           Entered 05/09/19 09:59:34                               Main Document
                                                                               Pg 17 of 40
 Debtor      Z & J, LLC d/b/a Appeal Tech                                                             Case number (if known)
             Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,430.39
          ALM - GA                                                              Contingent
          P.O. Box 18114                                                        Unliquidated
          Newark, NJ 07191-8114                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $67,271.86
          American Express                                                      Contingent
          P.O. Box 1270                                                         Unliquidated
          Newark, NJ 07101-1270                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,157.81
          Atlantic Tomorrows Office                                             Contingent
          GPO                                                                   Unliquidated
          P.O. Box 26200                                                        Disputed
          New York, NY 10087-6200
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,485.00
          Charlotte Colocation Center                                           Contingent
          P.O. Box 2878                                                         Unliquidated
          Monroe, NC 28111                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $27,937.88
          Chase Card Services                                                   Contingent
          P.O. Box 371874                                                       Unliquidated
          Pittsburgh, PA 15250-7874                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $8,056.76
          CLA Commercial Cleaning                                               Contingent
          347 West 36th St, Ste 502                                             Unliquidated
          New York, NY 10018                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,148.53
          Columbia Omni Corp                                                    Contingent
          14 West 33rd Street                                                   Unliquidated
          New York, NY 10001                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 6
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            19-11502-jlg                Doc 1          Filed 05/09/19           Entered 05/09/19 09:59:34                               Main Document
                                                                               Pg 18 of 40
 Debtor      Z & J, LLC d/b/a Appeal Tech                                                             Case number (if known)
             Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,113.83
          Complete Office Interiors Inc                                         Contingent
          1670 Old Country Rd, Ste 120                                          Unliquidated
          Plainview, NY 11803                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,914.52
          Daily Journal Corporation                                             Contingent
          915 E. 1st Street                                                     Unliquidated
          Los Angeles, CA 90012                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $23,118.19
          De Lage Landen                                                        Contingent
          1111 Old Eagle School Road                                            Unliquidated
          Wayne, PA 19087                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $43,533.15
          Empire Management Co. Inc.                                            Contingent
          P.O.Box 428                                                           Unliquidated
          Murray Hill Station                                                   Disputed
          New York, NY 10156
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $9,012.51
          FedEx                                                                 Contingent
          P.O. Box 371461                                                       Unliquidated
          Pittsburgh, PA 15250-7461                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,000.00
          Focus Media, Inc                                                      Contingent
          10 Matthews Street                                                    Unliquidated
          Goshen, NY 10924                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,500.00
          Judelson Giordano & Siegel                                            Contingent
          633 Route 211 East                                                    Unliquidated
          Middletown, NY 10941                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 6
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            19-11502-jlg                Doc 1          Filed 05/09/19           Entered 05/09/19 09:59:34                               Main Document
                                                                               Pg 19 of 40
 Debtor      Z & J, LLC d/b/a Appeal Tech                                                             Case number (if known)
             Name

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,740.00
          Kole & Kole                                                           Contingent
          270 Madison Ave, 13th Floor                                           Unliquidated
          New York, NY 10016                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $16,073.60
          Lindenmeyr Munroe                                                     Contingent
          P.O. Box 416207                                                       Unliquidated
          Boston, MA 02241-6207                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,945.00
          Littler Mendelson, P.C.                                               Contingent
          P.O. Box 45547                                                        Unliquidated
          San Francisco, CA 94145-0547                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,000.00
          Lo Rocca                                                              Contingent
          115 East 72nd Street, 1C                                              Unliquidated
          New York, NY 10021                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $60,000.00
          Michelman & Robinson, LLP                                             Contingent
          10880 Wilshire Blvd,19th Floor                                        Unliquidated
          Los Angeles, CA 90024                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,580.00
          Morea Schwartz Bradham                                                Contingent
          444 Madison Ave, 4th Floor                                            Unliquidated
          New York, NY 10022                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $24,305.11
          Purchase Power                                                        Contingent
          P.O. Box 371874                                                       Unliquidated
          Pittsburgh, PA 15250-7874                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 4 of 6
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             19-11502-jlg               Doc 1          Filed 05/09/19           Entered 05/09/19 09:59:34                               Main Document
                                                                               Pg 20 of 40
 Debtor       Z & J, LLC d/b/a Appeal Tech                                                            Case number (if known)
              Name

 3.22      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $4,000.00
           TOJAA Services, LLC                                                  Contingent
           168 Tottenham Road                                                   Unliquidated
           Lynbrook, NY 11563                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes

 3.23      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $968.43
           Waste Connections                                                    Contingent
           P.O. Box 660654                                                      Unliquidated
           Dallas, TX 75266-0654                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes

 3.24      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $24,091.83
           Wells Fargo Financial Leasing                                        Contingent
           P.O. Box 10306                                                       Unliquidated
           Des Moines, IA 50306-0306                                            Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes

 3.25      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $9,800.07
           WHB Biltmore, LLC                                                    Contingent
           Millenium Biltmore Hotel                                             Unliquidated
           506 South Grand Avenue                                               Disputed
           Los Angeles, CA 90071
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?        No      Yes


 3.26      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $2,900.00
           Wilder 4 Corners Assoc, Inc.                                         Contingent
           One East Main Street                                                 Unliquidated
           Rochester, NY 14614                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes

 3.27      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $15,126.05
           Windstream                                                           Contingent
           PAETEC                                                               Unliquidated
           P.O. Box 9001013                                                     Disputed
           Louisville, KY 40290-1013
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?        No      Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees
   of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                      related creditor (if any) listed?             account number, if
                                                                                                                                                    any
 4.1       Atlantic A Program of De Lage
           Landen Finanicial Services                                                                 Line     3.10
           P.O. Box 41602
                                                                                                               Not listed. Explain
           Philadelphia, PA 19101-1602

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 5 of 6
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            19-11502-jlg                Doc 1          Filed 05/09/19           Entered 05/09/19 09:59:34                      Main Document
                                                                               Pg 21 of 40
 Debtor      Z & J, LLC d/b/a Appeal Tech                                                         Case number (if known)
             Name


 Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                    700,001.00
 5b. Total claims from Part 2                                                                       5b.   +   $                    383,210.52

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                    1,083,211.52




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 6 of 6
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            19-11502-jlg                Doc 1          Filed 05/09/19        Entered 05/09/19 09:59:34                Main Document
                                                                            Pg 22 of 40
 Fill in this information to identify the case:

 Debtor name         Z & J, LLC d/b/a Appeal Tech

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   Office Equipment.
             lease is for and the nature of               $154/month. Expires
             the debtor's interest                        November 2019.

                 State the term remaining
                                                                                      De Lage Landen Financial
             List the contract number of any                                          1111 Old Eagle School Road
                   government contract                                                Wayne, PA 19087


 2.2.        State what the contract or                   Office Equipment.
             lease is for and the nature of               $1865/month. Expires
             the debtor's interest                        July 2020

                 State the term remaining
                                                                                      De Lage Landen Financial
             List the contract number of any                                          1111 Old Eagle School Road
                   government contract                                                Wayne, PA 19087


 2.3.        State what the contract or                   Commercial Lease for
             lease is for and the nature of               NY City Office. Lease
             the debtor's interest                        Amendment pending at
                                                          time of filing of Chapter
                                                          11 case.
                 State the term remaining
                                                                                      Quartz Associates, LLC
             List the contract number of any                                          347 Fifth Avenue
                   government contract                                                New York, NY 10016


 2.4.        State what the contract or                   Office Equipment.
             lease is for and the nature of               $6,889/month. Expires
             the debtor's interest                        May 2019

                 State the term remaining
                                                                                      Wells Fargo Financial Leasing
             List the contract number of any                                          800 Walnut, 4th Floor
                   government contract                                                Des Moines, IA 50309




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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            19-11502-jlg                Doc 1          Filed 05/09/19             Entered 05/09/19 09:59:34               Main Document
                                                                                 Pg 23 of 40
 Debtor 1 Z & J, LLC d/b/a Appeal Tech                                                           Case number (if known)
             First Name               Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.5.        State what the contract or                   Commercial Lease for
             lease is for and the nature of               Los Angeles office.
             the debtor's interest                        $3,266.69 / month.
                                                          Expires October 2021.
                 State the term remaining
                                                                                         WHB Biltmore, LLC
             List the contract number of any                                             520 South Grand Ave, Suite 670
                   government contract                                                   Los Angeles, CA 90071


 2.6.        State what the contract or                   Commercial Lease for
             lease is for and the nature of               Rochester Office.
             the debtor's interest                        $1450.00 / month.
                                                          Month-to-month tenant.
                 State the term remaining
                                                                                         Wilder 4 Corner Associates
             List the contract number of any                                             One East Main Street
                   government contract                                                   Rochester, NY 14614




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 2 of 2
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            19-11502-jlg                Doc 1          Filed 05/09/19    Entered 05/09/19 09:59:34                Main Document
                                                                        Pg 24 of 40
 Fill in this information to identify the case:

 Debtor name         Z & J, LLC d/b/a Appeal Tech

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                              Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                       Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Michael Kestan                                                                     JP Morgan Chase                    D
                                                                                                Bank, N.A.                         E/F
                                                                                                                                   G




Official Form 206H                                                       Schedule H: Your Codebtors                                           Page 1 of 1
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            19-11502-jlg                Doc 1          Filed 05/09/19           Entered 05/09/19 09:59:34                       Main Document
                                                                               Pg 25 of 40


 Fill in this information to identify the case:

 Debtor name         Z & J, LLC d/b/a Appeal Tech

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:     Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $1,500,000.00
       From 1/01/2019 to Filing Date
                                                                                                   Other    sales


       For prior year:                                                                             Operating a business                             $5,485,000.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other    sales


       For year before that:                                                                       Operating a business                             $4,400,000.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other    sales

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
   lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1

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              19-11502-jlg              Doc 1          Filed 05/09/19           Entered 05/09/19 09:59:34                         Main Document
                                                                               Pg 26 of 40
 Debtor       Z & J, LLC d/b/a Appeal Tech                                                               Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See attached list                                                                                    $0.00             Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
   at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                  Status of case
               Case number                                                                 address
       7.1.    Chase v. Appeal Tech,                                                                                                       Pending
               Supreme Court of New York,                                                                                                  On appeal
               Westchester County, Index                                                                                                   Concluded
               No. 63000/2018


       7.2.    NYS Dept of Taxation bank                                                                                                   Pending
               account execution                                                                                                           On appeal
                                                                                                                                           Concluded




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 2

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              19-11502-jlg              Doc 1          Filed 05/09/19             Entered 05/09/19 09:59:34                         Main Document
                                                                                 Pg 27 of 40
 Debtor       Z & J, LLC d/b/a Appeal Tech                                                                 Case number (if known)



               Case title                                       Nature of case               Court or agency's name and              Status of case
               Case number                                                                   address
       7.3.    Z&J, LLC v. Laurence Mynes,                                                                                               Pending
               Counsel Press, Inc., et. al.,                                                                                             On appeal
               Supreme Court of the State of                                                                                             Concluded
               New York, New York County,
               Index No. 650620/2018


       7.4.    De Lage Landen Financial                                                                                                  Pending
               Services, Inc. v. Z&J, LLC,                                                                                               On appeal
               Supreme Court of New York,                                                                                                Concluded
               New York County, Index No.
               650699


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of
   a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                      lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 3

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            19-11502-jlg                Doc 1          Filed 05/09/19             Entered 05/09/19 09:59:34                       Main Document
                                                                                 Pg 28 of 40
 Debtor        Z & J, LLC d/b/a Appeal Tech                                                              Case number (if known)



                 Who was paid or who received                        If not money, describe any property transferred           Dates               Total amount or
                 the transfer?                                                                                                                              value
                 Address
       11.1.     Daniel S. Alter
                 360 Westchester Avenue
                 #316                                                Debtor also paid $1,717.00 towards
                 Port Chester, NY 10573                              Chapter 11 filing fee.                                    May 2019                $15,783.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                 Dates transfers             Total amount or
                                                                                                                       were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                          Description of property transferred or                    Date transfer            Total amount or
                Address                                         payments received or debts paid in exchange               was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                      Nature of the business operation, including type of services              If debtor provides meals
                                                                the debtor provides                                                       and housing, number of
                                                                                                                                          patients in debtor’s care

 Part 9:       Personally Identifiable Information




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4

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            19-11502-jlg                Doc 1          Filed 05/09/19           Entered 05/09/19 09:59:34                         Main Document
                                                                               Pg 29 of 40
 Debtor      Z & J, LLC d/b/a Appeal Tech                                                                Case number (if known)



16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension
    or profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                    Last 4 digits of          Type of account or           Date account was         Last balance
              Address                                           account number            instrument                   closed, sold,        before closing or
                                                                                                                       moved, or                     transfer
                                                                                                                       transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents         Do you still
                                                                     access to it                                                             have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents         Do you still
                                                                     access to it                                                             have it?


 Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 5

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            19-11502-jlg                Doc 1          Filed 05/09/19           Entered 05/09/19 09:59:34                         Main Document
                                                                               Pg 30 of 40
 Debtor      Z & J, LLC d/b/a Appeal Tech                                                                Case number (if known)




Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and                Environmental law, if known              Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and                Environmental law, if known              Date of notice
                                                                     address

 Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
            None

       Name and address                                                                                                                         Date of service
                                                                                                                                                From-To
       26a.1.       Debtor's book and records are located at
                    Debtor's New York City offices


    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6

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            19-11502-jlg                Doc 1          Filed 05/09/19           Entered 05/09/19 09:59:34                         Main Document
                                                                               Pg 31 of 40
 Debtor      Z & J, LLC d/b/a Appeal Tech                                                                Case number (if known)



              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                           Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                              or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                          Address                                              Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Michael Kestan                                400 W. 42nd Street, Apt. 26H                         President                              100%
                                                     New York, NY 10036

       Name                                          Address                                              Position and nature of any             % of interest, if
                                                                                                          interest                               any
       James Dignon                                                                                       Vice President




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of               Dates              Reason for
                                                                property                                                                     providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 7

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            19-11502-jlg                Doc 1          Filed 05/09/19           Entered 05/09/19 09:59:34                         Main Document
                                                                               Pg 32 of 40
 Debtor      Z & J, LLC d/b/a Appeal Tech                                                                Case number (if known)



 Part 14:    Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is
      true and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         May 9, 2019

 /s/ Michael Kestan                                                     Michael Kestan
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 8

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             19-11502-jlg               Doc 1          Filed 05/09/19         Entered 05/09/19 09:59:34                Main Document
                                                                             Pg 33 of 40
B2030 (Form 2030) (12/15)
                                                              United States Bankruptcy Court
                                                                     Southern District of New York
 In re       Z & J, LLC d/b/a Appeal Tech                                                                     Case No.
                                                                                  Debtor(s)                   Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 15,783.00
             Prior to the filing of this statement I have received                                        $                 15,783.00
             Balance Due                                                                                  $                       0.00

2.     $    1,717.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:
                  Debtor                 Other (specify):

4.     The source of compensation to be paid to me is:
                  Debtor                 Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     May 8, 2019                                                                 /s/ Daniel S. Alter
     Date                                                                        Daniel S. Alter
                                                                                 Signature of Attorney

                                                                                 360 Westchester Avenue #316
                                                                                 Port Chester, NY 10573
                                                                                 (914) 393-2388
                                                                                 dsa315@mac.com
                                                                                 Name of law firm




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            19-11502-jlg                Doc 1          Filed 05/09/19         Entered 05/09/19 09:59:34                       Main Document
                                                                             Pg 34 of 40
                                                              United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Z & J, LLC d/b/a Appeal Tech                                                                            Case No.
                                                                                   Debtor(s)                        Chapter         11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                       Kind of Interest
 business of holder
 Michael Kestan
 400 West 42nd Street Apt. 26
 New York, NY 10036


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date 5/2/19                                                                 Signature /s/ Michael Kestan


                      Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                       18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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            19-11502-jlg                Doc 1          Filed 05/09/19          Entered 05/09/19 09:59:34    Main Document
                                                                              Pg 35 of 40




                                                              United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Z & J, LLC d/b/a Appeal Tech                                                             Case No.
                                                                                   Debtor(s)         Chapter    11




                                              VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       May 9, 2019                                                /s/ Michael Kestan
                                                                        Michael Kestan/President
                                                                        Signer/Title




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    19-11502-jlg   Doc 1   Filed 05/09/19    Entered 05/09/19 09:59:34   Main Document
                                            Pg 36 of 40

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                                        Pg 37 of 40


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                                        Pg 38 of 40


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                                        Pg 39 of 40


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                       LOS ANGELES, CA 90071


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                                                                               Pg 40 of 40



                                                              United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Z & J, LLC d/b/a Appeal Tech                                                                  Case No.
                                                                                    Debtor(s)             Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification
or recusal, the undersigned counsel for Z & J, LLC d/b/a Appeal Tech in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 May 7, 2019                                                           /s/ Daniel S. Alter
 Date                                                                  Daniel S. Alter
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Z & J, LLC d/b/a Appeal Tech

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